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          EXHIBIT 14
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                                    The Commonwealth of Massachusetts
                                     Commission Against Discrimination
                                   One Ashburton Place, Boston, MA 02108
                                  Phone: (617) 994-6000 Fax: (617) 994-6024

MCAD DOCKET NUMBER: 18BPA02946                                 EEOC/HUD CHARGE NUMBER:
FILING DATE: 10/17/18                                          VIOLATION DATE: 10/02/18

Name of Aggrieved Person or Organization:
Malcom Jarry
64 Bridge Street
Salem, MA 01970

Named is the employer, labor organization, employment agency, or state/local government agency who discriminated
against me:
City of Boston/Boston City Council
Attn: President Andrea Campbell
1 City Hall Square
Boston, MA 02201
Primary Phone: (617)635-3040 ext.

Cause of Discrimination based on:
Creed (Satanism)

The particulars are:
I, Malcom Jarry, the Complainant believe that I was discriminated against by City of Boston/Boston City Council, on the
basis of Creed. This is in violation of M.G.L. c. 272 Section 98.

1. I am the co-founder of the religious organization, the Satanic Temple (Satanism). I believe that City of Boston/Boston
City Council has discriminated against my organization based upon the religious practice of Satanism.
2. On October 2, 2018, I made an email request to the Boston City Council President Andrea Campbell that a member of
our organization be able to speak at an invocation prior to one of its monthly council meetings.
3. On October 3, 2018, I spoke with the Boston City Council Compliance Director and Staff Counsel Christine O'Donnell
                                                .


via telephone who informed me that its council does not accept requests from speakers to deliver an invocation, does not
have a written policy concerning invocations, and the council members decide who will deliver the invocations at its
meetings.
4. On October 4, 2018, I emailed Campbell concerning the council's violation of Establishment Clause along, with various
other laws by not allowing a member of our organization to deliver an invocation at one of its monthly meetings.
5. On October 5, 2018, I emailed Campbell and requested a response from her to my October 4, 2018 email concerning the
possible legal violations.
6. On October 9, 2018, I received an email response from O'Donnell indicating that each city councilor has an opportunity
to invite either clergy or a lay person to give an invocation prior to its council meetings, the councilors themselves do not
offer the invocation, and her disagreement with my interpretation of their possible legal violations by not allowing my
religious organization deliver an invocation.
7. Based upon my belief, Boston City Council has allowed other religious individuals/organizations i.e. Christian or Jewish
and other religious creeds to deliver invocation prior to its monthly meetings.
8. I believe that the City of Boston/ Boston City Council has engaged in discrimination against my organization based upon
our religious creed and practices.

I hereby verify, under the pains and penalties of perjuFy, that I have r ad this complaint and the allegations contained herein
are true to the best of my knowledge.



                                                          Signature of omplainant)



MCAD Docket Number 18BPA02946, Complaint                 DEF0000620
